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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

CORREY MITCHELL, Case No. CV 20-8636-CAS (JPR)

Petitioner,
JUDGMENT

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)

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Vv. )
)
MATTHEW ATCHELY, Warden, )
)

)

Respondent.

Pursuant to the Order Summarily Dismissing Petition for Writ
of Habeas Corpus and Administratively Closing Case,

IT IS HEREBY ADJUDGED that this action is dismissed.

CHRISTINA A. SNYDER
U.S. DISTRICT JUDGE

 

 

 
